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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 13367018
Notice of Service of Process                                                                            Date Processed: 01/16/2015

Primary Contact:           Arlene Smith
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02117

Entity:                                       Safeco Insurance Company Of Indiana
                                              Entity ID Number 2780991
Entity Served:                                Safeco Insurance Company of Indiana
Title of Action:                              Eufrasia Herrera vs. Safeco Insurance Company of Indiana
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Dallas County District Court, Texas
Case/Reference No:                            DC-15-00183
Jurisdiction Served:                          Texas
Date Served on CSC:                           01/16/2015
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Jason M. Byrd
                                              409-924-0660

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscinfo.com




                                                           EXHIBIT D-2
                      Case 3:15-cv-00504-D Document 1-5 Filed 02/12/15                     Page 2 of 14 PageID 19


FORM NO. 353-3 - CITATION                                                                                             E-SERVE
THE STATE OF TEXAS
                                                                                                                CITATION
To: SAFECO INSURANCE COMPANY OF INDIANA
    BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
    211 EAST 7TH STREET SUITE 620
    AUSTIN TX 78701                                                                                             DC-15-001S3
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not file a written                  EUFRASIA HERRERA
answer with the clerk who issued this citation by 10 o'clock a.m. ofthe Monday next following the                         VS.
expiration of twenty days after you were served this citation and petition, a default judgment may be      SAFECO INSURANCE COMPANY OF
taken against you. Your answer should be addressed to the clerk of the 116th District Court at 600                    INDIANA
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being EUFRASIA HERRERA
                                                                                                                   ISSUED THIS
Filed in said Court 7th day of January, 2015 against
                                                                                                              8th day of January, 2015

SAFECO INSURANCE COMPANY OF INDIANA                                                                              FELICIA PITRE
                                                                                                               Clerk District Courts,
For Suit, said suit being numbered DC-15-00183, the nature of which demand is as follows:                      Dallas County, Texas
Suit on INSURANCE etc. as shown on said petition ,a copy of which accompanies this citation. If this
citation is not served, it shall be returned unexecuted.
                                                                                                            By: TONYA POINTER, D~puty
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at office this 8th day of January, 2015.                       Attorney for Plaintiff
                                                                                                                 JASON M. BYRD
A TTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                THE BYRD LAW FIRM PC
                           ____________________________,Deputy                                                   448 ORLEANS ST
                              TONYA POINTER
                                                                                                              BEAUMONT TX 77701
                                                                                                                   409-924-0660
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                                                                       OFFICER'S RETURN
Case No. : DC-IS-OOI83

Court No.1 16th District Court

Style: EUFRASIA HERRERA

vs.

SAFECO INSURANCE COMPANY OF INDIANA



Came to hand on the _ _ _ _ _ _ _,day             _ _ _ _ _ _ _-' _., _ _ _ _, at                      o'clock._ _ _ _.M. Executed at _ _ _ _ _ _ _ _ _ _ _ _ _,

within the County    _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ o'clock _ _ _ .M. on the _ _ _ _ _ _ _'--J                           ~._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,



 _______--" by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy ofthis pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was _ _ _---'miles and my fees are as follows: To certifY which witness my hand.



                                 For serving Citation

                                 For mileage

                                 For Notary                  $_---                            By_ _ _ _ _ _ _ _ _ _ _ _ _ _~Deputy

                                                               (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said_ _ _ _ _ _ _ _ _ _ _before me this                      day

to certifY which witness my hand and seal of office.




                                                                                           Notary
                                                                                                            FILED
                                                                                                 DALLAS COUNTY
                                                                                               117120153:51:06 PM
 Case 3:15-cv-00504-D Document 1-5 Filed 02/12/15                    Page 4 of 14 PageID 21          FELICIA PITRE
                                                                                                  DISTRICT CLERK

                                                                                              Tanya Pointer
                                          DC-15-00183
                                CAUSE NO. _ _ _ _ __

EUFRASIA HERRERA                                §       IN THE DISTRICT COURT OF
                                                §
VS.                                             §       DALLAS COUNTY, TEXAS
                                                §
SAFECOINSURANCE                                 §
COMPANY OF INDIANA                              §               JUDICIAL DISTRICT

                             PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, EUFRASIA HERRERA, Plaintiff herein, who files this Original

Petition against the Defendant, SAFECO INSURANCE COMPANY OF INDIANA and for
             •
cause of action would respectfully show the court as follows:

                                     A. Discovery Control Plan

        1.       Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the

Texas Rules of Civil Procedure.

                                              B. Parties

        2.       Plaintiff, EUFRASIA HERRERA, is an Individual who resides in DALLAS

County, Texas.

        3.       Defendant, SAFECO INSURANCE COMPANY OF INDIANA, is a Texas

insurance company registered to engage in the business of insurance in the State of Texas. This

Defendant may be served with process by certified mail, return receipt requested, by serving its

general manager or any other officer located at CORPORATION SERVICE COMPANY 211

EAST 7TH STREET, SUITE 620, AUSTIN, TX 78701-3218.

                                           C. Jurisdiction

       4.        The court has jurisdiction over the cause of action because the amount        In


controversy is within the jurisdictional limits of the court.
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       5.      The Court has jurisdiction over Defendant SAFECO INSURANCE COMPANY

OF INDIANA because Defendant is a citizen of the State of Texas and/or engages in the

business of insurance in the State of Texas and the cause of action arises out of Defendant's

business activities in the State of Texas.

                                             D. Venue

       6.      Venue is proper in DALLAS County, Texas because the insured property is

situated in DALLAS County, Texas. TEX. CIV. PRAC. & REM. CODE. § 15.032.

                                             E. Facts

       7.      Plaintiff was the owner of Texas Homeowner's Policy number OY6833805 issued

by Defendant, SAFECO INSURANCE COMPANY OF INDIANA (hereinafter referred to as

"the policy.") Plaintiff owns the insured property (hereinafter referred to as "the property."),

which is specifically located at 1405 HANEY LN., MESQUITE, TX 75149-5635.

       8.      Defendant SAFECO INSURANCE COMPANY OF INDIANA sold the policy,

insuring the property that is the subject of this lawsuit, to Plaintiff. The Plaintiff suffered a

significant loss with respect to the property as a result of windstorm and hail damage.

       9.      Plaintiff submitted a claim to Defendant with date of loss December 19,2012 for

windstorm and hail damage to the dwelling and contents of the home.

       10.     Defendant assigned claim number 557965615036 to Plaintiffs claim.

       11.     Defendant failed to properly adjust the claim and summarily improperly paid the

claim with obvious knowledge and evidence of serious cosmetic and structural damage.

       12.     Defendant improperly paid Plaintiffs claim for replacement of the property, even

though the policy provided coverage for losses such as those suffered by Plaintiff.
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       13.     Defendant failed to perform its contractual duty to adequately compensate

Plaintiff under the terms of the policy. Defendant failed and refused to pay the full proceeds of

the policy, although due demand was made for proceeds to be paid in an amount sufficient to

cover the damaged property and all conditions precedent to recovery upon the policy had been

carried out and accomplished by Defendant. Such conduct constitutes breach of the insurance

contract between Defendant and Plaintiff.

       14.     Defendant misrepresented to Plaintiff that the damage to the property was not in

excess to the amount paid, even though the damage was caused by a covered occurrence.

Defendant's conduct constitutes violations of the Texas Insurance Code.

       15.     Defendant failed to make an attempt to settle Plaintiffs claim in a fair manner,

although they were aware of their liability to Plaintiff under the policy. Defendant's conduct

constitutes violations of the Texas Unfair Competition and Unfair Practices Act. TEX. INS.

CODE. Section 541.060(2).

       16.     Defendant failed to explain to Plaintiff the reasons for its offer of an inadequate

settlement. Specifically, Defendant failed to offer Plaintiff adequate compensation, without any

explanations why full payment was not being made. Furthermore, Defendant did not

communicate that any future settlements or payments would be forthcoming to pay for the entire

losses covered under the policies, nor did it provide any explanation for the failure to adequately

settle Plaintiffs claim. Defendant's conduct constitutes violations of the Texas Unfair

Competition and Unfair Practices Act. TEX. INS. CODE. Section 541.060(3).

       17.    Defendant failed to affirm or deny coverage of Plaintiffs claims within a

reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or

rejection, regarding the full and entire claims, in writing from Defendant. Defendant's conduct
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constitutes violations of the Texas Unfair Competition and Unfair Practices Act. TEX. INS.

CODE. Section 541.060(4).

        18.    Defendant refused to fully compensate Plaintiff, under the terms of the policy,

even though Defendant failed to conduct a reasonable investigation. Specifically, Defendant

performed an outcome-oriented investigation of Plaintiff's claim, which resulted in a biased,

unfair and inequitable evaluation of Plaintiff's losses on the property. Defendant's conduct

constitutes violations of the Texas Unfair Competition and Unfair Practices Act. TEX. INS.

CODE. Section 541.060(7).

        19.    Defendant failed to meet its obligations under the Texas Insurance Code

regarding acknowledging Plaintiff's claims, beginning investigations to Plaintiff's claims and

requesting all information reasonably necessary to investigate Plaintiff's claim within fifteen

(15) days of receiving notice of Plaintiff claims. Defendant's conduct constitutes violations of

the Texas Prompt Payment of Claims Act. TEX. INS. CODE. Section 542.055.

       20.     Defendant failed to accept or deny Plaintiff's full and entire claims within fifteen

(15) business days of receiving all required information. Defendant's conduct constitutes a

violation of the Texas Prompt Payment of Claims Act. TEX. INS. CODE. Section 542.056.

       21.     Defendant failed to meet its obligations under the Texas Insurance Code

regarding payment of claims without delay. Specifically, Defendant has delayed full payment of

Plaintiff's claims longer than allowed and, to date, Plaintiff has not yet received full payment for

the claims. Defendant's conduct constitutes a violation of the Texas Prompt Payment of Claims

Act. TEX. INS. CODE.Section 542.055.

       22.     From and after the time Plaintiff's claims were presented to Defendant, the

liability of Defendant to pay the full claims in accordance with the terms of the policy was
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reasonably clear. However, Defendant has refused to pay Plaintiff in full, despite there being no

basis whatsoever on which a reasonable insurance company would have relied on to deny the full

payment. Defendant's conduct constitutes breaches of the common law duty of good faith and

fair dealing.

        23.     As a result of Defendant's acts and omissions, Plaintiff was forced to retain the

attorney who is representing Plaintiff in this cause of action.

        24.     Plaintiffs experience is not an isolated case. The acts and omissions Defendant

committed in this case, or similar acts and omissions, occur with such frequency that they

constitute a general business practice of Defendant with regard to handling these types of claims.

Defendant's entire process is unfairly designed to reach favorable outcomes for the company at

the expense of the policyholders.

                                       F. Causes of Action

                                        Breach of Contract

        25.     Defendant, SAFECO INSURANCE COMPANY OF INDIANA's conduct, as

described above, constitutes a breach of the insurance contract made between Defendant and

Plaintiff.

        26.     Defendant's failure and refusal, as described above, to pay the adequate

compensation as it is obligated to do under the terms of the policy in question and under the laws

of the State of Texas, constitutes material breaches of the insurance contract with Plaintiff.

Plaintiff has suffered damages in the fonn of actual damages, consequential damages and

reasonable and necessary attorney's fees.
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                            Violations of the Texas Insurance Code

       27.     Defendant's conduct constitutes multiple violations of the Texas Unfair

Competition and Unfair Practices Act. TEX. INS. CODE Chapter 541. All violations under this

article are made actionable by TEX. INS. CODE Section 541.151.

       28.     Defendant's unfair practice, as described above, of misrepresenting to Plaintiff

material facts relating to the coverage at issue, constitutes an unfair method of competition and

an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE Sections

541.051, 541.060 and 541.061.

       29.     Defendant's unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claims, even though

Defendant's liability under the policy was reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE Sections 541.051, 541.060 and 541.061.

       30.     Defendant's unfair settlement practice, as described above, of failing to promptly

provide Plaintiff with a reasonable explanation of the basis in the policy, in relation to the facts

or applicable law, for its offer of a compromise settlement of the claims, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE ANN. Sections 541.051, 541.060 and 541.061.

       31.     Defendant's unfair settlement practice, as described above, of failing within a

reasonable time to affirm or deny coverage of the claims Plaintiff or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE Sections 541.051, 541.060 and 541.061.
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       32.     Defendant's unfair settlement practice, as described above, of refusing to pay

Plaintiff's claims without conducting a reasonable investigation, constitutes an unfair method of

competition an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE Sections 541.051, 541.060 and 541.061.

Noncompliance with Texas Insurance Code Chapter 542: "The Prompt Payment of Claims
                                       Act"

       33.     Defendant's conduct constitutes multiple violations of the Texas Prompt Payment

of Claims Act. TEX. INS. CODE Chapter 542. All violations made under this article are made

actionable by TEX. INS. CODE Section 542.060.

       34.     Defendant's failure, as described above, to acknowledge receipt of Plaintiff's

claims, commence investigation of the claims, and request from Plaintiff all items, statements,

and forms that they reasonable believed would be required within the applicable time constraints,

constitutes a non-payment of the claims. TEX. INS. CODE Sections 542.055-542.060.

       35.     Defendant's delay of payment of Plaintiffs claims, as described above, following

its receipt of all items, statements, and forms reasonably requested and required, longer than the

amount of time provided for, constitutes a non-prompt payment of the claims. TEX. INS. CODE

Sections 542.055-542.060.

                       Breach of the Duty of Good Faith and Fair Dealing

       36.     Defendant, SAFECO INSURANCE COMPANY OF INDIANA's conduct

constitutes a breach of the common law duty of goodfaith and fair dealing owed to insureds in

insurance contracts.

       37.     Defendant's failure, as described above, to adequately and reasonably investigate

and evaluate Plaintiff's claims, although at that time Defendant knew or should have known by
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the exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of

the duty of good faith and fair dealing.

                                    H. Knowledge and Intent

       38.     Each of the acts described above, together and singularly, was done "knowingly"

and "intentionally" and was a producing cause of Plaintiffs' damages described herein.

                             1. Texas Deceptive Trade Practices Act

       39.     Each of the acts described above, together and singularly, constitute a violation of

the Texas Deceptive Trade Practices Act pursuant to its tie-in provision for Insurance Code

Violations. Accordingly, Plaintiff also brought each and every cause of action alleged above

under the Texas Deceptive Trade Practices Act pursuant to its tie-in provision.

       40.     At all times material hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.       Defendant has violated the Texas Deceptive Trade

Practices Act in the following manners:

               a.      Causing confusion or misunderstanding as to the source, sponsorship,
                       approval, or certification of goods or services;

               b.      Representing the goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or qualities which they do not
                       have or that a person has a sponsorship, approval, status, affiliation, or
                       connection which he does not;

               c.     Advertising goods or services with intent not to sell them as advertised;

               d.      Making false or misleading statements of fact concerning the reasons for,
                       existence of, or amount of price reductions;

               e.     Representing that an agreement confers or involves rights, remedies, or
                      obligations which it does not have or involve, or which are prohibited by
                      law;
               f.     Misrepresenting the authority of a salesman, representative or agent to
                      negotiate the final terms of a consumer transaction; and
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               g.      Failing to disclose information concerning goods or services which was
                       known at the time of the transaction and such failure to disclose such
                       information was intended to induce the consumer into a transaction into
                       which the consumer would not have entered had the information been
                       disclosed;

               h.      Engaging in an unconscionable course of conduct.

                                      J. Damages and Prayer

        41.    WHEREFORE, PREMISES CONSIDERED, Plaintiff herein, EUFRASIA

HERRERA, complains of SAFECO INSURANCE COMPANY OF INDIANA, and prays that

Defendant be cited to appear and answer and that on a final trial on the merits, Plaintiff recover

from Defendant the following:

       42.     Plaintiff would show that all of the aforementioned acts, taken together or

singularly, constitute the proximate and/or producing causes of damages sustained by Plaintiff.

       43.     For breach of contract, Plaintiff is entitled to regain the benefit of her bargain,

which is the amount of the claims, together with attorney's fees.

       44.     For noncompliance with the Texas Unfair Competition and Unfair Practices Act,

Plaintiff is entitled to actual damages, which includes the loss of the benefits that should have

been paid pursuant to the policy, including but not limited to direct and indirect consequential

damages, mental anguish, court costs and attorney's fees. For knowing conduct of the acts

complained of, Plaintiff asks for three times her actual damages. TEX. INS. CODE ANN.

Section 541.060.

       45.     For noncompliance with Texas Prompt Payment of Claims Act, Plaintiff is entitled

to the amount of her claims, as well as eighteen (18) percent interest per annum postjudgment

interest, as allowed by law, and for any other further relief, either at law or in equity, to which he

may show herself to be justly entitled.
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        46.     For breach of the duty of good faith and fair dealing, exemplary damages as to be

determined by the jury.



                                       Respectfully submitted,

                                       THE BYRD LAW FIRM, P.e.




                                       Jason M. Byrd
                                       State Bar No. 24036303
                                       Jason@txbxrd.com
                                       Thomas C. Mayo
                                       State Bar No. 24032703
                                       Thomas@txbyrd.com
                                       448 Orleans Street
                                       Beaumont, Texas 77701
                                       (409) 924-0660/(409) 924-0035
                                       ATTORNEYS FOR PLAINTIFF


                                         JURY DEMAND

Plaintiff respectfully demands a trial by jury.




                                       Jason M. Byrd
                                                             ~\\\ \ \ ~\ \ \ ~ ~\ \\~ ,;:!'~:, ~
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Nell Mr.CaUllm & Associates, Inc.
     Lb j b Calder, Suite 111
      Be~lJmont. TX 17702




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                                                                 Safeco Insurance Company
                                                                 Serv:CSC
                                                                 711 East 7th Street, Ste. 620
                                                                 Austin, Tx 78701
